Case 2:20-mj-01377-CW Document1 Filed 07/17/20 Page 1 of 12

AO OL (Rev. LL) Cetmanal Compliant

UNITED STATES DISTRICT COURT  cigp
for the WESTERN stacy

Western District of Texas

   
    
   

United States of America )
v ) ) as
)
)
)
Defendant(s}
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of dune 9, 2020 in the county of Dimmit County in the
_ Western District of Texas , the defendants) violated:
Code Section Ojfense Description
Title 18, United States Coda, On or about June 8, 2020, in the Wester District of Texas, the defendant,

Section 3, Accessory After the Fact Leeroy Felan, knowing that an offense against the United States had been
commiltted, to wit, arson of a building used In interstate or foreign commerce,
a violation of Title 18, United States Code, Section 844(1}, did receive, relieve,
comfort and assist the offender, Jose Felan, in order to hinder and pr ent
the offender's apprehension, tial, arid punishment, in violation of Titl 18,
‘United States Code, Section 3,

  
 
  

This criminal complaint is based on these facts:
| further state that | am a Deputy United States Marshai and that this complaint ls based on the following facts - |
A true copy of ide a7 itidh ioerty,
SEE ATTACHED AFFIDAVIT Clark, WLS. Dist ‘ot \K ene

   
  

; Doputy Clark
f Continued on the attached sheet, Gpury
pent mean
faMCT S signature

Peter M. Castillo, beputy United States Marshal
Printed name and title

Swom to before me and signed in my presence.

Date: As ? [a0 iy

City and state: Del Ric, TX Hon. Collis White, United States Magistrate Judge
Printed name and title

 

duage 's signatire

 

 
Case 2:20-mj-01377-CW Document1 Filed 07/17/20 Page 2 of 12

(

WESTERN DISTRICT OF TEXAS 88. AFFIDAVIT OF
DEL RIO DIVISTON PETER M. CASTILLO

1. I, Deputy United States Marshal Peter Castillo, being first duly sworn,

hereby depose and state as follows:

2. Tam employed as a Deputy United States Marshal and have been so
employed since August 2015. 1 am currently assigned to the Del Rio Division as a
criminal investigator for the Lone Star Fugitive Task Force. My primary
responsibility is to locate and apprehend local, state and federal fugitives, wanted for
felony criminal offenses involving acts of violence, weapons, or criminal sexual acts.
I graduated from the Basic Deputy United States Marshals Academy in January of
2016 and have received extensive in-service training since appointment to the task
force. Additionally, Iam a district public affairs officer, preparing and disseminating
information to the public via media sources, on behalf of district management and
the Agency. I graduated from the United States Marshals Service Public Affairs
Officer Certification Course in 2018. Finally, I am a collateral sex offender
investigations coordinator. I have investigated numerous convicted sex offenders for
sex offender registration related offenses, including the fugitive in this case ~ Jose
Felan, resulting in state and federal convictions. I graduated from the United States
Marshals Service Sex Offender Investigations Coordinator Basic Course in 2018.
Prior to joining the United States Marshals Service, I served as a municipal police

officer in Massachusetts, and a non-commissioned officer in the United States Army.

 
‘Case 2:20-mj-01377-CW Document1 Filed 07/17/20 Page 3 of 12

3, The facts and information contained in this affidavit are based upon my
personal knowledge and the investigation and observations of other officers and
agents involved in the investigation. This affidavit contains information necessary
to support probable cause for this application. It is not intended to include each and
every fact and matter observed by me or known to the government.

4, The affidavit submitted below is in support of a criminal complaint
charging Leeroy Felan with the offense stated. Specifically, it will show that Leeroy
Felan, knowing that his brother, Jose Felan, was wanted by the Bureau of Alcohol
Tobacco and Firearms (ATE), having been charged with arson of a building used in
interstate or foreign commerce, a violation of Title 18, United States Code, § 844(),
did knowingly and purposefully assist in the flight and transportation of Jose Felan
and his wife, Mena Yousif, in order to hinder and prevent both person’s from being
apprehended by law enforcement.

5, Additionally, Leeroy Felan did purposefully contact law enforcement,
namely the United States Marshals Service, and provide false statements via a
telephone call, in order to further impede the investigation of the aforementioned
fugitives,

6. For the reasons set forth in this affidavit, there is probable cause to
believe that violations of federal law, including, but not limited to Title 18, United
States Code, § 3 (accessory after the fact), have been committed in order to prevent
the location and arrest of two individuals who have outstanding arrest warrants out

of the District of Minnesota, specifically Jose Felan and Mena Yousif. Your affiant is
Case 2:20-mj-01377-CW Document1 Filed 07/17/20 Page 4 of 12

C

requesting an arrest warrant with probable cause for the offense previously stated in
order to further this investigation.
PROBABLE CAUSE

7, On May 25, 2020, George Floyd died while in the custody of the
Minneapolis Police Department, The nature and circumstances of Mr. Floyd’s arrest,
subsequent death, and the actions of the Minneapolis Polica Department came under
intense public scrutiny. Almost immediately following Mr. Floyd's death, public
protests began in Minneapolis and began expanding throughout the Twin Cities
metro area. In the days that followed, in addition to peaceful protests, the Cities of
Minneapolis and St. Paul, and some surrounding communities, endured violence and
destruction. This violence included numerous arsons in the cities of Minneapolis and
St, Paul.

8. On May 28, 2020, an individual, later identified as Jose A. Felan, Jr.
started a fire at the Goodwill retail store located at 1239 University Avenue West, St.
Paul, Minnesota (‘Goodwill’), a building that is involved in interstate and foreign
commerce, Jose Felan was recorded on surveillance cameras setting the firein the
Goodwill’s back room. He was also captured on video in temporal and physical
proximity to fires that were set at a Napa Auto Parts at 1271 University Avenue
West, Gordon Parks High School at 1212 University Avenue West, and a Speedway
gas station at 970 University Avenue West, all in St. Paul, Minnesota,

9. Ondune 5, 2020, ATF issued a press release asking the public's assistance

in identifying “persons of interest who could advance the arson investigation into

 
Case 2:20-mj-01377-CW Document1 Filed 07/17/20 Page 5 of 12

a F
i : é
"4 a

several St. Paul businesses that were set ablaze last week.” Photographs from the
Goodwill fire were included in the press release, showing several photos of “Goodwill
Person 1” (later identified as Jose Felan) and “Goodwill person 2” (ater identified as
Mena Yousif (‘Yousif’). The press release was posted on Twitter and picked up by
news organizations.

10, On June 7, 2020, ATF released additional photographs of “Goodwill
Person 1” (Jose Felan), and offered a $5,000 reward for information about his identity,
Similar to the June 5 press release, the June 7 press release was also picked up widely
' by various TV, internet, and print news organizations.

11. On June &, 2020, ATF received several tips, including from individuals
who wished to remain anonymous, that the arsonist was Jose Felan, a resident of
Rochester, Minnesota, Three other tips identified other individuals. Special Agent
Dominic Bates, an ATF agent assigned to the District of Minnesota, St. Paul Division,
was able to confirm Jose Felan’s identity as the Goodwill arsonist after reviewing
body camera footage of a Rochester Police Department interaction with Jose Felan in
March 2020,

12. Jose Felan has a tattoo on his right forearm that depicts the name “Mena”
with a crown. Local law enforcement in Rochester indicated that they are familiar
with “Mena” and know her to be Jose Felan’s girlfriend, Yousif. Local law
enforcement confirmed that the person depicted in ATF’s press release as “Goodwill
Person 2” is in fact Yousif. Bath Jose Felan and Yousif are believed to live in

Rochester, Minnesota.

 

 
Case 2:20-mj-01377-CW Document1 Filed 07/17/20 Page 6 of 12

13. Late in the evening on June 8, 2020, Jose Felan was charged by complaint
with arson, in violation of 18 U.S.C. § 844(i), and the Court issued a warrant for his
arrest. When ATF could not locate Jose Felan in Rochester, the Court also issued a
warrant to locate, or “ping,” Jose Felan’s phone. In the early morning of June 9, 2020,
Jose Felan’s phone pinged in a rural area of western Missouri. Local law enforcement
responded to the ping, and stopped a black 2013 Cadillac SRX bearing Minnesota

license platep the Subject Vehicle, That vehicle is registered to Jose Felan;

 

however, Yousif was driving it and Jose Felan was not in the vehicle. When law
enforcement asked Yousif to identify the car’s owner, Yousif responded that she did
not know. When asked why she was on a rural road with an out-of-state license plate,
she said she was just going for a drive. Yousif does not appear to have any family or
business connections in Missouri. After that, Yousif then simply shrugged her
shoulders or refused to answer any further questions.

14, A short while later, Jose Felan’s phone pings led law enforcement to a
motel in Fort Scott, Kansas. Officers observed a silver 2010 Chevrolet Traverse with

Minnesota license plate in the parking lot. That vehicle is registered to

 

Yousif. The receptionist told law enforcement that Jose Felan had checked into the
motel and had indicated that his girlfriend (Yousif) would be folowing him and
should be given a key to his room when she arrived.

15, Investigation revealed that Jose Felan left the motel in Kansas with an

individual who agreed to give Jose Felan a ride to Oklahoma City in exchange for the

 
Case 2:20-mj-01377-CW Document1 Filed 07/17/20 Page 7 of 12

Q
t

2010 Chevy Traverse. On the morning of June 9, 2020, Jose lelan’s phone pinged in
Oklahoma. This concludes the narrative for Jose Ielan's route of travel.

16. On June 8, 2020, Leeroy Felan, brother to the fugitive, sent a message via
Facebook messenger to their brother ~ Erick Felan, with My link to the ATF article in
Minnesota, showing that Jose Felan was a wanted suspect in an arson investigation.
Leeroy also sent this article to their mother, Sonia Felan, on June 8, 2020.

17, On dune 9, 2020, Jose Felan texted Leeroy Felan and requested help.
Through numerous text messages, Jose explained that law enforcement was using
his cell phone signal to locate him. Jose informed Leeroy that he was traveling south
from Kansas toward Oklahoma. Leeroy advised Jose that he was traveling north
towards him, but that their mom, Sonia, would likely arrive first, since she was
coming from San Antonio. Jose explicitly informed Leeroy multiple times that he was
avoiding law enforcement contact, and even detailed turning off his phone between
messages to prevent signal tracking. Jose informed them when he arrived in
Oklahoma, specifically noting that he was hiding in the brush near a Walmart. —

18. OnJune 11, 2020, Leeroy Felan contacted United States Probation Officer

Sophia Ramirez. Leeroy Felan resides at® Oarrizo Springs, TX,

 

which is in the Western District of Texas. Leeroy Felan is currently serving a term
of supervised release following a 2015 conviction for Alien Smuggling. Per Leeroy,
Jose Felan, had called him several times the day prior and said that he was coming
down from Minnesota to visit. Leeroy provided that he does not have a close

relationship with Jose and found the timing of his trip to be odd. Leeroy gave two

 
Case 2:20-mj-01377-CW Document1 Filed 07/17/20 Page 8 of 12

ho ‘

possible destinations for Jose - either his house in Carrizo Springs, or his parents
house in Eagle Pass. Leeroy said that Jose and his wife, Mena Yousif, had lost their
car in Daas. No additional details were provided. Officer Ramirez advised Leeroy
to contact law enforcement authorities if he was concerned for either his safety or the
safety of his family.

19. During the evening of June 11, 2020, Leeroy Felan called Deputy United
States Marshal Peter Castillo. Also included on this phone call, with Leeroy’s
’ consent, was acting Supervisory Deputy United States Marshal Vicente Rodriguez.
Leeroy explained the same information that he relayed to Officer Ramirez, adding
that he had conducted an internet search engine query of Jose Felan’s name, and saw
that his brother was wanted in Minnesota for arson, Leeroy informed both Deputies

that he believed Jose was traveling to their Father's house,

 

Eagle Pass, TX. Leeroy advised that his mother drove a brown colored older Toyota
sedan, that she did not have a permanent address or home, and that she traveled
frequently between Texas and California. Leeroy identified a third brother, Frick

T’elan, as living in San Antonio, TX, and driving a black colored Chrysler sedan. He

 

also provided two cell phone numbers that Jose had used to call him: Hg

When questioned directly, Leeroy explained that he does not

 

maintain a close relationship with his brother, since he has a previous federal felony
conviction himself, and is actively seeking to rebuild his life following his federal

criminal conviction. He claimed to have no additional contact with Jose Felan.

7

 
Case 2:20-mj-01377-CW Document1 Filed 07/17/20 Page 9 of 12

: - ‘ .
L % -

20. On June 11, 2020, law enforcement stopped a black Cadillac SRX,

 

hereafter identified as Subject Vehicle, bearing Minnesota license plate Eau
outside of Austin, TX. The vehicle was registered to Jose Felan and previously
disseminated nationwide via a law enforcement BOLO notice. Felan’s mother, Sonia
: Felan, was driving, and neither Jose Felan (the registered owner) nor Yousif (the
previous driver) were in the car. Sonia Felan was carrying a cell phone and gave law
enforcement consent to search the phone, which revealed two new phone numbers for
Jose Felan and/or Yousif. The consent to search the phone also revealed text
messages consistent with Felan and Yousif fleeing Minnesota. A search of the car
revealed the omply packaging for a cell phone. Following the traffic stop, law enforcement
attempted to follow Sonia Pelan, but Sonia Felan employed what appeared to be evasive
maneuvers to prevent law enforcement from following her, and law enforcement lost her
vehicle.

21. On June 11, 2020, law enforcement sought and received authorization
from a magistrate judge in the District of Minnesota to gather electronic data
concerning the two new cell phones, including prospective GPS data. The GPS data

for the cell phone with phone number © aqiedlaw enforcement to a Holiday,

 

Inn outside of San Antonio, ‘Texas.

22. On January 12, 2020, law enforcoment interviewed Holiday Inn
employees and believe that, while Jose Felan and Yousef were staying at that hotel
but have since fled. Currently, law enforcement have not received any GPS data for

the cell phone with phone number . Law enforcement discovered the

 

 

cell phone with phone number gg eeegin a trash bin near the Holiday Inn.

 
Case 2:20-mj-01377-CW Document1 Filed 07/17/20 Page 10 of 12

fp

Law enforcement also discovered a cell phone that Ielan had previously been using
and law enforcement had sought and received authorization to “ping” in the
possession of an individual who stated that he had found the phone in a ditch or
ravine near the Holiday Inn,

28. In reviewing call records from the abandoned phones, law enforcement
discovered that a few minutes alter they ended the investigative stop Sonia Felan in
the Subject Vehicle on June 11, 2020, Sonia Felan ealled the phone belonging to
Yousif, presumably to warn her about the interaction with law enforcement. Officers
found Yousif’s phone in the hotel dumpster several hours later.

24, Also at the Holiday Inn, law enforcement found a Toyota Camry that is
registered to Sonia Felan. Law enforcement discovered this vehicle parked in the
Holiday Inn parking lot the morning of June 12, 2020, In the afternoon on that day,
the Honorable Judge Elizabeth Chestney authorized an emergency vehicle tracking
warrant for the Toyota Camry.

25. On July 15, 2020, Special Agent, Dominic Bates of the Bureau of Alcohol,
Tobacco and Firearms, District of Minnesota, received information obtained from a
‘cell phone, seized during the arson investigation, that belonged to Jose Felan.
Records on this phone provided a detailed record of text conversations between Jose,
Leeroy and Sonia Felan. This information revealed numerous factual discrepancies
regarding the information provided to USMS investigators by Leeroy Felan, as
detailed in this affidavit. Specifically, the information shows that Leeroy was in

constant contact with Jose Felan and Sonia Felan throughout the day of June 9, 2020,

 

 

 
Case 2:20-mj-01377-CW Document1 Filed 07/17/20 Page 11 of 12

f f

and assisted both partics in locating a meeting point to facilitate the travel of Jose
Felan and Mena Yousif south into Texas.

26. OnJune 18, 2020, criminal investigators with the United States Marshals
Service obtained surveillance footage from the aforementioned Holiday Inn outside
of San Antonio, showing that Jose Felan and Mena Yousif arrived at the hotel during
the evening hours of June 12, 2020. They parked a brown colored Toyota Camry,

, registered to Sonia Felan, and walked

 

bearing Texas temporary plates
outside of the camera angle. At the time of this affidavit cubmission, this is the last
time they have been seen together.

27. Jose Felan and Mena Yousif continue to evade arrest from the federal
arson complaints out of the District of Minnesota. There is probable cause to believe
that Leeroy Felan, having full knowledge that. J ose Felan was wanted by ATF for
arson out Minnesota, provided direct assistance to Jose Felan and Mena Yousif
‘during their flight from law enforcement. Additionally, there is probable cause to
show that Leeroy Felan purposefully lied to criminal investigators from the United
States Marshals Service, in an effort to prevent their capture.

28. In this case, the investigation is ongoing, and there is reasonable cause
to believe that disclosure of the contents of this affidavit and the warrant and
associated documents may, in the Affiant’s opinion, cause the targets of the
investigation to destroy evidence, tamper with potential witnesses, further flee the
jurisdiction, or otherwise impede the ongoimg investigation and hinder the

opportunity to pursue leads developing out of the current investigation.

10

 

 
Case 2:20-mj-01377-CW Document1 Filed 07/17/20 Page 12 of 12

7 ( : f
29. Based on the foregoing, the Affiant respectfully requests that the Court
issue a warrant authorizing the Affiant, as well as other law enforcement agents
assisting in the above-described investigation, to arrest Leeroy Felan for the
aforementioned offense.
Respectfully submitted,

{LL

PETER NE-CASTILLO
Deputy United States Marshal, USMS

SUBSCRIBED and SWORN before me on July £2, 2020;

  

NAY

 

The Honorable Judge Collis White
United States Magistrate Judge

11

 
